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 8                        UNITED STATES DISTRICT COURT
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                        NORTHERN DISTRICT OF CALIFORNIA
10                                SAN JOSE DIVISION
11 TEVA PHARMACEUTICALS USA, INC.,            Case No. 5:24-cv-03567-BLF
12          Plaintiff,                        Honorable Beth Labson Freeman
13        vs.                                 [PROPOSED]      ORDER     GRANTING
                                              DEFENDANTS’ JOINT MOTION FOR A
14 CORCEPT THERAPEUTICS, INC., et al.,        PROTECTIVE      ORDER   REGARDING
                                              PLAINTIFF’S 33 NON-PARTY DOCUMENT
15           Defendants.                      SUBPOENAS
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                                                                 Case No. 5:24-cv-03567-BLF
                    [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION FOR PROTECTIVE ORDER
     Case 5:24-cv-03567-BLF       Document 71-3       Filed 01/30/25    Page 2 of 2




 1         Before the Court is Defendants Corcept Therapeutics, Inc.’s and Optime Care Inc.’s Joint

 2 Motion for a Protective Order Regarding Plaintiff’s 33 Non-Party Document Subpoenas (“Motion”).

 3 Having considered the Motion, the supporting documents filed therewith, and the arguments made by

 4 counsel, IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED. Plaintiff must

 5 withdraw its 33 non-party document subpoenas in full.

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 7         IT IS SO ORDERED.

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10 Dated: ________, 2025
                                               HONORABLE BETH LABSON FREEMAN
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                                               UNITED STATES DISTRICT JUDGE
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                       [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION FOR PROTECTIVE ORDER
